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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS

                                              )
JOSHUA FLYNN, Individually and On             ) Case No. 1:19-cv-08209
Behalf of All Others Similarly Situated,      )
                                              ) Honorable Virginia M. Kendall
                                Plaintiff,    )
                                              )
                        v.                    )
                                              )
EXELON CORPORATION, CHRISTOPHER               )
M. CRANE, JOSEPH NIGRO, JOSEPH                )
DOMINGUEZ, and JEANNE M. JONES,               )
                                              )
                                Defendants.   )
                                              )



        MEMORANDUM OF LAW IN SUPPORT OF THE MOTION OF THE
          INSTITUTIONAL INVESTOR GROUP FOR APPOINTMENT AS
      LEAD PLAINTIFF AND APPROVAL OF SELECTION OF LEAD COUNSEL
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          Proposed Lead Plaintiff Greater Pennsylvania Carpenters’ Pension Fund and Steamfitters

Local 449 Pension Plan (together, the “Institutional Investor Group”) respectfully submits this

Memorandum of Law pursuant to Section 21(D)(3)(B) of the Securities Exchange Act of 1934

(the “Exchange Act”), 15 U.S.C. § 78u-4(D)(3)(B), as amended by the Private Securities

Litigation Reform Act of 1995 (the “PSLRA”), in support of its motion for the entry of an Order:

(i) appointing the Institutional Investor Group as Lead Plaintiff; (ii) approving the Institutional

Investor Group’s selection of Labaton Sucharow LLP (“Labaton Sucharow”) as Lead Counsel

for the Class and Cohen Milstein Sellers & Toll PLLC (“Cohen Milstein”) as Liaison Counsel

for the Class; and (iii) granting such other and further relief as the Court may deem just and

proper.

                                 PRELIMINARY STATEMENT

          The above-captioned action (the “Action”) alleges that Exelon Corporation (“Exelon” or

the “Company”) and certain of its senior officers (collectively, “Defendants”) defrauded

investors in violation of Sections 10(b) and 20(a) of the Exchange Act (15 U.S.C. §§ 78j(b),

78t(a)), and U.S. Securities and Exchange Commission (“SEC”) Rule 10b-5 promulgated

thereunder (17 C.F.R. § 240.10b-5). Specifically, the Action alleges that from February 9, 2019

through November 1, 2019, both dates inclusive (the “Class Period”), Defendants misled

investors by failing to disclose Exelon’s involvement in unlawful lobbying activities. The

Institutional Investor Group—a small, cohesive group comprised of two sophisticated

institutional investors—respectfully submits that it should be appointed Lead Plaintiff on behalf

of all individuals and entities who purchased or otherwise acquired Exelon securities during the

Class Period, and who were damaged as a result of Defendants’ alleged fraud (the “Class”).

          The PSLRA requires that the Court appoint the “most adequate plaintiff” to serve as Lead

Plaintiff. 15 U.S.C. § 78u-4(a)(3)(B)(i). In that regard, the Court must determine which movant
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has the “largest financial interest” in the relief sought by the Class, and also whether such

movant has made a prima facie showing that it is a typical and adequate class representative

under Rule 23 of the Federal Rules of Civil Procedure (“Rule 23”). See 15 U.S.C. § 78u-

4(a)(3)(B)(iii)(I). For the reasons discussed below, the Institutional Investor Group respectfully

submits that it is the “most adequate plaintiff” under the PSLRA and should be appointed Lead

Plaintiff. The Institutional Investor Group incurred losses of $77,699 on its Class Period

transactions in Exelon securities as calculated on a last-in-first-out (“LIFO”) basis.1 See Bang v.

Acura Pharm., Inc., No. 10 C 5757, 2011 WL 91099, at *3–6 (N.D. Ill. Jan. 11, 2011) (Kendall,

J.) (appointing group of institutional investors with largest financial interest). The Institutional

Investor Group also meets the typicality and adequacy requirements of Rule 23 because its

claims are typical of those of absent Class members, and because it will fairly and adequately

represent the interests of the Class.

       Further, the Institutional Investor Group is the paradigmatic Lead Plaintiff under the

PSLRA because its members are sophisticated institutional investors with a substantial financial

interest in the resolution of the Action. See H.R. Conf. Rep. No. 104-369, at 34 (1995),

reprinted in 1995 U.S.C.C.A.N. 730, 733; S. Rep. No. 104-98, at 6 (1995), reprinted in 1995

U.S.C.C.A.N. 679, 685; see also In re Neopharm, Inc. Sec. Litig., 225 F.R.D. 563, 567 (N.D. Ill.

2004) (“Congress ‘anticipated and intended’ large institutional investors to oversee securities

cases.”) (citation omitted); Sokolow v. LJM Funds Mgmt., Ltd., No. 18-cv-01039, 2018 WL




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         A copy of the PSLRA-required Certifications of the Institutional Investor Group
(“Certifications”), are attached as Exhibit A to the Declaration of Carol V. Gilden (the “Gilden
Decl.”). The Certifications set forth the respective transactions of the members of the
Institutional Investor Group in Exelon securities during the Class Period. In addition, charts
providing calculations of the members of the Institutional Investor Group’s losses are attached as
Exhibit B to the Gilden Decl.


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3141814, at *5 (N.D. Ill. June 26, 2018) (finding that the PSLRA indicates a “presumption that

institutional investors be appointed lead plaintiff”) (citation omitted).

       Further, members of the Institutional Investor Group have significant experience serving

in a fiduciary capacity and supervising the work of outside counsel. As set forth in greater detail

in their Joint Declaration submitted herewith (see Gilden Decl., Ex. C), the Institutional Investor

Group fully understands the obligations of a lead plaintiff to absent class members under the

PSLRA, and is willing and able to undertake the responsibilities of Lead Plaintiff in the Action

to ensure its vigorous and efficient prosecution. The Institutional Investor Group’s collaboration

in this litigation follows from their roles as fiduciaries to their respective members and their

shared goals and interests in protecting and maximizing pension fund assets. Moreover, prior to

seeking a role as Lead Plaintiff, representatives from the Institutional Investor Group held a

conference call to discuss, among other things, the merits of the claims against Defendants, as

well as their common goals and strategy for the joint prosecution of this action. See Gilden

Decl., Ex. C, Joint Decl. ¶¶ 9–10. Thus, the Institutional Investor Group has the incentive and

commitment to vigorously prosecute this Action in a cohesive and coordinated fashion, and the

ability to supervise and monitor counsel.

       Finally, pursuant to the PSLRA, the Institutional Investor Group respectfully requests that

the Court approve the selection of Labaton Sucharow as Lead Counsel for the Class. See 15

U.S.C. § 78u-4(a)(3)(B)(v) (“[T]he most adequate plaintiff shall, subject to the approval of the

court, select and retain counsel to represent the class”). Labaton Sucharow is a nationally

recognized securities class action litigation firm that has recovered billions of dollars in damages

for defrauded investors.




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       Accordingly, the Institutional Investor Group respectfully requests that the Court appoint

it as Lead Plaintiff for the Class and approve its choice of Counsel.

                                  FACTUAL BACKGROUND

       Exelon was incorporated in 1999 and is headquartered in Chicago, Illinois. Exelon is a

utility services holding company that engages in energy generation and delivery businesses in the

U.S. and Canada. Exelon owns various “Utility Registrants” that are regulated by State utility

commissions, including, among other entities, Commonwealth Edison (“ComEd”). ComEd’s

parent company is Exelon Utilities.

       On July 15, 2019, during pre-market hours, Exelon filed a Current Report on Form 8-K

with the SEC, disclosing that both Exelon and ComEd had “received a grand jury subpoena from

the U.S. Attorney’s Office for the Northern District of Illinois requiring production of

information concerning their lobbying activities in the State of Illinois.”

       Then, on October 9, 2019, during pre-market hours, Exelon filed another Current Report

on Form 8-K with the SEC, disclosing that, on October 4, 2019, both Exelon and ComEd

“received a second grand jury subpoena from the U.S. Attorney’s Office for the Northern District

of Illinois that requires production of records of any communications with certain individuals

and entities, including Illinois State Senator Martin Sandoval.” That Current Report also

disclosed that, as far back as “[o]n June 21, 2019, the Exelon Corporation Board formed a

Special Oversight Committee, consisting solely of independent directors, to oversee [Exelon and

ComEd’s] cooperation and compliance with the subpoena, any further action taken by the U.S.

Attorney and any resulting actions that may be required or recommended.”

       On October 15, 2019, shortly before the market closed, Exelon issued a press release

announcing the abrupt departure of Anne Pramaggiore (“Pramaggiore”), Chief Executive Officer

(“CEO”) of Exelon Utilities, and former President/CEO of ComEd. The Company’s statement


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on Pramaggiore’s retirement offered no reason for her departure, but analysts following the

Company came to the conclusion that the criminal subpoenas and Pramaggiore’s abrupt

resignation were related. On this news, Exelon’s stock price fell $2.15 per share, or 4.57%, to

close at $44.91 per share on October 16, 2019.

        Then, on October 31, 2019, during intraday trading, Exelon filed a Quarterly Report on

Form 10-Q with the SEC, disclosing that “[o]n October 22, 2019, the SEC notified Exelon and

ComEd that it has also opened an investigation into their lobbying activities.” On this news,

Exelon’s stock price fell $1.17 per share, or 2.51%, to close at $45.49 per share on October 31,

2019.

        Finally, on November 1, 2019, after the market opened, the Chicago Tribune reported

that “[a] source with knowledge of the case in Chicago” confirmed that “Pramaggiore is one

focus of the ongoing federal investigation.” According to the same article, “[t]he ComEd

lobbying investigation dates to at least mid-May, when the FBI executed search warrants at the

homes of former lobbyist Mike McClain of Quincy, a longtime confidant of House Speaker

Michael Madigan, and of former 23rd Ward Ald. Michael Zalewski” (emphasis added).

Additionally, “[t]he information sought by the FBI included records of communications among

Madigan, McClain and Zalewski about attempts to obtain ComEd lobbying work for Zalewski.”

On this news, Exelon’s stock price fell an additional $0.15 per share to close at $45.34 per share

on November 1, 2019—a total decline of 2.83% since the initial announcement of the SEC

investigation.

        As a result of the foregoing, the Action alleges that throughout the Class Period,

Defendants made false and/or misleading statements and/or failed to disclose that: (i) Exelon

and/or its employees were engaged in unlawful lobbying activities; (ii) the foregoing increased




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the risk of a criminal investigation into Exelon; (iii) ComEd’s revenues were in part the product

of unlawful conduct and thus unsustainable; and (iv) that, as a result, the Company’s public

statements were materially false and misleading at all relevant times.

                                           ARGUMENT

I.      THE INSTITUTIONAL INVESTOR GROUP SHOULD BE APPOINTED AS
        LEAD PLAINTIFF

        The Institutional Investor Group respectfully submits that it should be appointed Lead

Plaintiff because it filed the instant motion in a timely manner, believes it has the largest

financial interest in this litigation of any qualified movant, and satisfies the typicality and

adequacy requirements of Rule 23.

        A.     The PSLRA Standard For Appointing Lead Plaintiff

        The PSLRA provides a straightforward procedure for selecting a lead plaintiff for “each

private action arising under [the Exchange Act] that is brought as a plaintiff class action pursuant

to the Federal Rules of Civil Procedure.” 15 U.S.C. § 78u-4(a)(l); see also 15 U.S.C. § 78u-

4(a)(3)(B) (setting forth procedure for selecting lead plaintiff). First, Section 21D(a)(3)(A)(i) of

the Exchange Act, as amended by the PSLRA, specifies that:

               Not later than 20 days after the date on which the complaint is
               filed, the plaintiff or plaintiffs shall cause to be published, in a
               widely circulated national business-oriented publication or wire
               service, a notice advising members of the purported plaintiff class–

               (I)    of the pendency of the action, the claims asserted therein,
               and the purported class period; and

               (II)    that, not later than 60 days after the date on which the
               notice is published, any member of the purported class may move
               the court to serve as lead plaintiff of the purported class.

15 U.S.C. § 78u-4(a)(3)(A)(i).




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        Next, pursuant to the PSLRA, a court is to consider any motion made by class members

to serve as lead plaintiff and appoint the “most adequate plaintiff.” 15 U.S.C. § 78u-4(a)(3)(B)(i).

In adjudicating a lead plaintiff motion, a court shall adopt a presumption that the “most adequate

plaintiff” is the person who: (i) filed a complaint or made a motion to serve as lead plaintiff; (ii)

has the largest financial interest in the relief sought by the class; and (iii) who otherwise satisfies

the requirements of Rule 23. See 15 U.S.C. § 78u-4(a)(3)(B)(iii)(I). This presumption may be

rebutted only by “proof” that the presumptively most adequate plaintiff “will not fairly and

adequately protect the interests of the class” or “is subject to unique defenses that render such

plaintiff incapable of adequately representing the class.” 15 U.S.C. § 78u-4(a)(3)(B)(iii)(II); see

also Constr. Workers Pension Tr. Fund v. Navistar Int’l Corp., No. 13 C 2111, 2013 WL

3934243, at *2–3 (N.D. Ill. July 30, 2013).

        B.      The Institutional Investor Group Is The “Most Adequate Plaintiff”

                1.      The Institutional Investor Group’s Motion Is Timely

        The Institutional Investor Group filed this motion to serve as Lead Plaintiff in a timely

manner. Pursuant to 15 U.S.C. § 78u-4(a)(3)(A)(i), the plaintiff in the action published notice on

Globe Newswire on December 16, 2019. See Notice, Gilden Decl., Ex. D. That notice, in

accordance with the PSLRA, indicated that applications for Lead Plaintiff must be made no later

than 60 days from the date on which the notice was published, i.e., February 14, 2020. The

Institutional Investor Group filed its motion seeking appointment as Lead Plaintiff within this

deadline and thus has satisfied the procedural requirements of the PSLRA.

                2.      The Institutional Investor Group Has the Largest Financial Interest

        The PSLRA requires a court to adopt the rebuttable presumption that “the most adequate

plaintiff . . . is the person or group of persons that . . . has the largest financial interest in the

relief sought by the class.” 15 U.S.C. § 78u-4(a)(3)(B)(iii). The Institutional Investor Group


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incurred a substantial loss of $77,699 on its transactions in Exelon securities on a LIFO basis

during the Class Period. See Loss Analysis, Gilden Decl., Ex. B. To the best of its knowledge,

the Institutional Investor Group’s financial interest is the largest of any Lead Plaintiff movant,

and it is thus the presumptive “most adequate plaintiff.” See 15 U.S.C. § 78u-4(a)(3)(B)(iii).

               3.      The Institutional Investor Group Satisfies Rule 23’s Typicality and
                       Adequacy Requirements

       In addition to possessing the largest financial interest in the outcome of the litigation, the

Institutional Investor Group otherwise satisfies the adequacy and typicality requirements of Fed.

R. Civ. P. 23. See 15 U.S.C. § 78u-4(a)(3)(B)(iii)(I)(cc); see Acura Pharm., Inc., 2011 WL

91099, at *3 (noting that an investor need only establish a “prima facie” showing it satisfies the

typicality and adequacy requirements of Rule 23 – a showing that “need not be extensive”)

(quoting In re Cendant Corp. Litig., 264 F.3d 201, 263–64 (3d Cir. 2001)). Here, the

Institutional Investor Group indisputably satisfies the typicality and adequacy requirements.

       Pursuant to Rule 23(a)(3) of the Federal Rules of Civil Procedure, the claims or defenses

of the representative party must be typical of those of the class. A Lead Plaintiff’s claims are

considered typical if they “arise[] from the same event or practice or course of conduct that gives

rise to the claims of class members and his or her claims are based on the same legal theory.”

Johnson v. Tellabs, Inc., 214 F.R.D. 225, 228 (N.D. Ill. 2002) (quoting Rosario v. Livaditis, 963

F.2d 1013, 1018 (7th Cir. 1992)); see also Danis v. USN Commc’ns., Inc., 189 F.R.D. 391, 395

(N.D. Ill. 1999) (noting that the typicality requirement is satisfied where the named

representative’s claims have the “same essential characteristics as the claims of the class at

large”) (citation omitted). To satisfy this requirement, “[t]he claims of the class representative

need not be identical.” Tellabs, 214 F.R.D. at 228 (citing De La Fuente v. Stokely-Van Camp,

Inc., 713 F.2d 225, 232 (7th Cir. 1983)).



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       Here, the Institutional Investor Group’s claims and all other Class members’ claims arise

from the same course of events, and their legal arguments to establish defendants’ liability are

nearly identical. The Institutional Investor Group alleges, as do all class members, that

Defendants violated the Exchange Act by making what they knew, or recklessly disregarded,

were false or misleading statements of material facts concerning Exelon, or omitted to state

material facts necessary to make the statements they did make not misleading. Indeed, like other

Class members, the members of the Institutional Investor Group: (i) purchased or otherwise

acquired Exelon securities during the Class Period; (ii) at prices allegedly artificially inflated by

Defendants’ materially false and misleading statements and/or omissions; and (iii) were damaged

thereby. These shared claims, which are based on the same legal theory and arise from the same

events and course of conduct as the class claims, satisfy the typicality requirement of Rule

23(a)(3). As such, the Institutional Investor Group satisfies the typicality requirement.

       The Institutional Investor Group similarly satisfies the adequacy requirement of Rule 23.

Under Rule 23(a)(4) of the Federal Rules of Civil Procedure, the representative party must

“fairly and adequately protect the interests of the Class.” Fed. R. Civ. P. 23(a)(4). The adequacy

requirement is satisfied when the proposed lead plaintiff: (i) has “claims [that] are not

antagonistic or in conflict with those of the class;” (ii) “has sufficient interest in the outcome of

the case to ensure vigorous advocacy;” and (iii) “is represented by competent experienced

counsel who [will] be able to prosecute the litigation vigorously.” Tellabs, 214 F.R.D. at 228–

29. The Institutional Investor Group satisfies these elements because its substantial financial

interest in the litigation provides the ability and incentive to vigorously represent the Class’

claims. The Institutional Investor Group’s interests are perfectly aligned with those of the other

Class members and are not antagonistic in any way. Further, there are no facts to suggest any




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actual or potential conflict of interest or other antagonism between the Institutional Investor

Group and the other Class members. Finally, the Institutional Investor Group has further

demonstrated its adequacy through the selection of Labaton Sucharow as Proposed Lead Counsel

for the Class. As discussed more fully below (See infra Section III), Labaton Sucharow is highly

qualified and experienced in the area of securities class action litigation and has repeatedly

demonstrated an ability to conduct complex securities class action litigation effectively.

Proposed Liaison Counsel Cohen Milstein is similarly experienced and highly qualified.

II.      THE INSTITUTIONAL INVESTOR GROUP IS THE PROTOTYPICAL LEAD
         PLAINTIFF ENVISIONED BY CONGRESS

         In addition to satisfying the requirements of Rule 23, the Institutional Investor Group is

the very sort of Lead Plaintiff envisioned by Congress in its enactment of the PSLRA—

sophisticated institutional investors with substantial interests in the litigation. See H.R. Conf.

Rep. No. 104-369, at 34 (1995), reprinted in 1995 U.S.C.C.A.N. 730, 733 (1995) (explaining

that “increasing the role of institutional investors in class actions will ultimately benefit

shareholders and assist courts by improving the quality of representation in securities class

actions”); see also Plumbers & Pipefitters Local 562 Pension Fund v. MGIC Inv. Corp., 256

F.R.D. 620, 622 (E.D. Wis. 2009) (The PSLRA “was designed to encourage institutional

investors, who are more likely to have significant financial holdings at stake as well as greater

sophistication and experience in securities matters, to exercise control over the litigation and

over counsel”).

         Moreover, courts in this District, including this Court, have found the prevailing “‘trend’

has been to allow small groups of investors to act as lead plaintiff” and “aggregate their losses

for purposes of calculating the financial interest.” Bang, 2011 WL 91099, at *2–3 (Kendall, J.)

(noting that courts have “explicitly allowed small groups of investors to aggregate their losses in



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computing the total loss amount and act as lead plaintiff”) (citing Cendant, 264 F.3d at 266-67)).

As a result, courts in this District frequently allow small, cohesive groups of institutional

investors to jointly serve as lead plaintiff in securities class actions. See, e.g., Bristol Cty. Ret.

Sys. v. Allscripts Healthcare Sols., Inc., No. 12 C 3297, 2012 WL 5471110, at *6 (N.D. Ill. Nov.

9, 2012) (appointing a group of two institutional investors as they will “fairly and adequately

protect the interests of the purported class”); City of Sterling Heights Gen. Emps’ Ret. Sys. v.

Hospira, Inc., No. 11 C 8332, 2012 WL 1339678, at *8 (N.D. Ill. Apr. 18, 2012) (appointing a

group of four institutional investors as the group is “a ‘small, and presumptively cohesive’ group

of sophisticated and knowledgeable investors with aligned interests”) (quoting Goldstein v. Puda

Coal, Inc., No. 11 Civ. 02598, 2011 WL 6075861, at *6 (S.D.N.Y. Dec. 6, 2011)).

        The Institutional Investor Group consists of a small, cohesive group of two sophisticated

institutional investors that have combined assets under management over $1 billion, and is

therefore precisely the type of lead plaintiff envisioned by Congress upon passage of the PSLRA.

As pension funds, the members of the Institutional Investor Group are not only sophisticated

institutional investors, but are also accustomed to acting as fiduciaries, and their combined

experience in legal and financial matters will substantially benefit the Class. As set forth in the

Joint Declaration, the Institutional Investor Group also understands the duties of a lead plaintiff

pursuant to the PSLRA, is willing to oversee the vigorous prosecution of the Action, and has

pledged to “actively participate in discovery, provide testimony if needed at trial, and attend

court and other proceedings.” See Gilden Decl., Ex. C ¶ 13; see also Maliarov v. Eros Int’l PLC,

No. 15-CV-8956 (AJN), 2016 WL 1367246, at *5 (S.D.N.Y. Apr. 5, 2016) (finding group

satisfactory where the members “represented that they are prepared to attend court proceedings,

settlement conferences, and other hearings when doing so will be of benefit to the proposed




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Class”) (internal quotation marks and citation omitted). The Institutional Investor Group’s

understanding of the responsibilities and duties of the PSLRA lead plaintiff is based, in part, on

its collective past and current experience prosecuting securities class actions, which will benefit

the Class. See id ¶¶ 3, 5.

       As set forth in the Joint Declaration, the members of the Institutional Investor Group

individually determined to jointly seek appointment as Lead Plaintiff and litigate this action

independently of counsel and in the best interests of all Class members. See id. ¶ 7–8.

Following this, and based on each member’s experience, sophistication, and resources, the

members of the Institutional Investor Group determined to seek joint appointment as Lead

Plaintiff. See id.; see also, e.g., Sokolow, 2018 WL 3141814, at *4 (appointing group that

submitted joint declaration that “explains how and why the [group] made the decision jointly to

seek appointment as lead plaintiff in this matter”); Allscripts Healthcare Sols., Inc., 2012 WL

5471110, at *6 (appointing group of institutions that “conferred with one another [and] decided

to move together in seeking appointment as lead plaintiff after due consideration and

deliberation”); In re Versata, Inc., Sec. Litig., No. C 01-1439 SI, 2001 WL 34012374, at *6–7

(N.D. Cal. Aug. 20, 2001) (finding a group composed of sophisticated investors that submitted

declarations “providing background information and articulating why [each] member is seeking

lead plaintiff status as part of the asserted group” to be “sufficiently cohesive and structured to

maximize its individual strengths and sophisticated business knowledge” and to have “exhibited

a cooperative spirit”).

       Following this decision, the members of the Institutional Investor Group held a

conference call on February 14, 2020 to formalize their relationship by strategizing in greater

detail their collaborative approach to litigate the Action and oversee counsel, their commitment




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to zealously representing the Class, and the benefits their joint representation would provide to

the Class. See id. ¶¶ 9–10; see also Chahal v. Credit Suisse Grp. AG, No. 18-CV-02268

(AT)(SN), 2018 WL 3093965, at *5 (S.D.N.Y. June 21, 2018) (finding lead plaintiff group

involvement in litigation satisfactory based on “conference call to discuss the responsibilities of

the role and the benefits they would provide as a group”). Therefore, the members of the

Institutional Investor Group have been requisitely involved in the litigation to date,

independently sought and retained counsel, and through their own agency determined to seek

joint appointment as Lead Plaintiff. See, e.g., In re Bank of Am. Corp. Sec., Derivative & ERISA

Litig., 258 F.R.D. 260, 270 (S.D.N.Y. 2009) (appointing a group in view of “declarations

demonstrating cooperative efforts among” its members).

       Accordingly, the appointment of the Institutional Investor Group is not only appropriate,

but comports with the intent of the PSLRA.

III.   THE COURT SHOULD APPROVE THE INSTITUTIONAL INVESTOR
       GROUP’S CHOICE OF COUNSEL

       The PSLRA vests authority in the Lead Plaintiff to select lead counsel, subject to the

approval of the Court. 15 U.S.C. § 78u-4(a)(3)(B)(v); In re Cendant Corp. Litig., 264 F.3d 201,

276 (3d Cir. 2001) (stating that “the Reform Act evidences a strong presumption in favor of

approving a properly-selected lead plaintiff’s decisions as to counsel selection and counsel

retention”). Consistent with Congressional intent, a court should not disturb the lead plaintiff’s

choice of counsel unless it is “necessary to protect the interests of the plaintiff class.” See H.R.

Conf. Rep. No. 104-369, at 35 (1995), reprinted in 1995 U.S.C.C.A.N. 730, 734.

       Here, the Institutional Investor Group has selected Labaton Sucharow to serve as Lead

Counsel for the Class. Labaton Sucharow has excelled as lead counsel in numerous landmark

securities class actions on behalf of defrauded investors. For example, Labaton Sucharow served



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as lead counsel in In re American International Group, Inc. Securities Litigation, No. 04-cv-

8141 (S.D.N.Y.), in which it achieved a recovery totaling more than $1 billion for injured

investors, and secured a $294.9 million recovery in In re Bear Stearns Cos., Inc. Securities,

Derivative, & ERISA Litigation, No. 08-md-1963 (S.D.N.Y.), in which the Firm served as co-

lead counsel. Labaton Sucharow also served as co-lead counsel in In re Satyam Computer

Services Ltd. Securities Litigation, No. 09-md-2027 (S.D.N.Y.), through which it helped recover

from the company and its auditors a total of $150.5 million for class members. Labaton

Sucharow presently serves as lead and co-lead counsel in several significant investor class

actions. See Labaton Sucharow Firm Resume, Gilden Decl., Ex. E.

       Likewise, Cohen Milstein is well-qualified to represent the Class as Liaison Counsel.

Cohen Milstein is a nationally known class action firm which has successfully litigated

numerous securities class action cases, recovering billions of dollars for investors. Cohen

Milstein maintains an office in Chicago, Illinois, and has substantial litigation experience in this

District. See Cohen Milstein Firm Resume, Gilden Decl., Ex. F. Therefore, the firm is well

qualified to represent the Class as Liaison Counsel. See ANN. MANUAL COMPLEX LIT. § 10.221

(4th ed. 2004) (discussing role of liaison counsel and noting that “[l]iaison counsel will usually

have offices in the same locality as the court.”).

       Thus, the Court may be assured that by granting this motion, the Class will receive the

highest caliber of legal representation.

                                           CONCLUSION

       For the foregoing reasons, the Institutional Investor Group respectfully requests that the

Court grant its motion and enter an Order: (i) appointing the Institutional Investor Group as Lead

Plaintiff; (ii) approving the Institutional Investor Group’s selection of Labaton Sucharow as Lead




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Counsel for the Class and Cohen Milstein as Liaison Counsel to the Class; and (iii) granting such

other and further relief as the Court may deem just and proper.

DATED: February 14, 2020                            Respectfully submitted,

                                                    By: /s/ Carol V. Gilden

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                                                    Lead Counsel for the Class




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                                 CERTIFICATE OF SERVICE


        I, Carol V. Gilden, certify that on this 14th day of February, 2020 I electronically filed
the foregoing with the Clerk of the U.S. District Court using the CM/ECF system which will
send notification electronically to the registered participants as identified on the Notice of
Electronic Filing.


                                                        /s/ Carol V. Gilden
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